Case o-20-06049-aSt DOC 96-9 =Fled Olflo/z5 Entered Ol/loiz5 20141744

EXHIBIT E
Case o-20-06049-aSsI

Date:

To:

Re:

2/20/2015

Arvind Watia

CEO, Porteck Corporation

300 Jericho Quadrangle West Suite 320
Jericho, NY 11753

htto:/Ayww, porteck.com/
516-874-8101 (phone)
646-536-2515 (fax)
516-770-6222 (Mobile)

For the Sale of Porteck Corporation to:

Constellation Health Technologies, inc.
875 3° Avenue

9* Floor

New York, NY 10022

Paul Parmar, CEO

Purchase price: $7,800,000
Paid at Closing: $5,500,000
Earn-out paid in 12 months: $2,300,000

Due Now: $5,500,000 x 3.5% = $192,500

DOC 90-9) «=O NEO Ulilof/2z5) = =6—Entered Ol/loizso 2041744

Earn out paid in 12 months subject to a success fee of 3.5x the amount paid.

Wire:

For any additional questions, please call Dana Ferguson 504-220-4660

2712 Botticelli Drive

Abstract Business Advisors, LLC

Wells Fargo, Anthem Village branch. Henderson, NV

RT# 121000248 /

Henderson, NV 89052 Phone: 702-896-9286

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